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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO

SPENCER NEAL,                                  )       CASE NO.:
                                               )
         Plaintiff,                            )       CIVIL RIGHTS
                                               )
Vs.                                            )       COMPLAINT FOR INJUNCTIVE
                                               )       RELIEF:
DIVYA JYOTI LTD,                               )
                                               )       1ST CAUSE OF ACTION:​ For Denial of
         Defendant.                            )       Access by a Public Accommodation in
                                               )       Violation of the Americans with Disability
                                               )       Act of 1990 (“Title III” and “ADA”),
                                               )       42 U.S.C. §§ 12181 ​et seq​.

         Plaintiff SPENCER NEAL, Individually, on his behalf and on behalf of all other mobility

impaired individuals similarly situated (hereinafter “NEAL”), hereby complains against the

Defendant DIVYA JYOTI LTD (hereinafter “DIVYA”), an Ohio Limited Liability Company,

for injunctive relief, attorney’s fees, litigation expenses, and costs pursuant to the Americans

with Disabilities Act, 42 U.S.C. 12181, et seq. (“ADA”) and alleges as follows:

      1. Plaintiff, Spencer Neal, is an individual residing in Akron, Ohio, in the County of

         Summit.



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2. Defendant’s property, Quality Inn & Suites, is located at 3950 Tuller Road, Dublin, Ohio

   43017, in the County of Franklin.

3. Venue is properly located in the Southern District of Ohio because venue lies in the

   judicial district of the property situs. The Defendant’s property is located in and does

   business within this judicial district.

4. Pursuant to 28 U.S.C. 1331 and 28 U.S.C. 1343, this Court has been given original

   jurisdiction over actions which arise from the Defendant’s violations of Title III of the

   Americans with Disabilities Act, 42 U.S.C. 12181, et seq. See also 28 U.S.C. 2201 and

   2202.

5. Plaintiff Spencer Neal is an individual with disabilities as defined by the ADA. Mr. Neal

   is paralyzed as a result of spina bifida and relies on a wheelchair to ambulate. Spencer

   Neal visited the property on August 7, 2018, which forms the basis of this lawsuit. Mr.

   Neal plans to return to stay as a guest at Defendant’s property on his next scheduled trip

   to the area in September 2018, if the Defendant’s Hotel is made fully accessible to a

   disabled person in a wheelchair, and to avail himself of the Hotel and its services. The

   Plaintiff has personally encountered architectural barriers at the subject property, which

   barriers are enumerated herein. The barriers to access at the property have denied him the

   full and equal access to the property.

6. Defendant owns, leases, leases to, or operates a place of public accommodation as

   defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and

   36.104. Defendant is responsible for complying with the obligations of the ADA. The




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   place of public accommodation that the Defendant owns, operates, leases or leases to is

   known as the Quality Inn & Suites, 3950 Tuller Road, and is located in Columbus, Ohio.

7. Spencer Neal has a realistic, credible, existing and continuing threat of discrimination

   from the Defendant’s non-compliance with the ADA with respect to this property as

   described but not necessarily limited to the allegations in paragraph 9 of this complaint.

   Mr. Neal has reasonable grounds to believe that he will continue to be subjected to

   discrimination in violation of the ADA by the Defendant. Spencer Neal desires to visit

   Defendant’s property not only to avail himself of the goods and services available at the

   property but to assure himself that this property is in compliance with the ADA so that he

   and others similarly situated will have full and equal enjoyment of the property without

   fear of discrimination.

8. The Defendant has discriminated against the individual Plaintiff by denying him access

   to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

   and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 seq.

9. The Defendant has discriminated, and is continuing to discriminate, against the Plaintiff

   in violation of the ADA by failing to, inter alia, have accessible facilities by January

   26,1992 (or January 26,1993, if Defendant has 10 or fewer employees and gross receipts

   of $500,000 or less). A preliminary inspection of Defendant’s property has shown that

   violations exist. These violations, which were personally encountered by Spencer Neal,

   include barriers to access at the Property’s exterior, interior - public spaces and

   restrooms, and interior - guest rooms.




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10. The discriminatory violations described in paragraph 9 are not an exclusive list of the

   Defendant’s ADA violations. Plaintiff requires the inspection of the Defendant’s place of

   public accommodation in order to photograph and measure all of the discriminatory acts

   violating the ADA and all of the barriers to access. The individual Plaintiff, and all other

   individuals similarly situated, have been denied access to, and have been denied the

   benefits of services, programs and activities of the Defendant’s buildings and its

   facilities, and have otherwise been discriminated against and damaged by the Defendant

   because of the Defendant’s ADA violations, as set forth above. The individual Plaintiff,

   and all others similarly situated will continue to suffer such discrimination, injury and

   damage without the immediate relief provided by the ADA as requested herein. In order

   to remedy this discriminatory situation, the Plaintiff requires an inspection of the

   Defendant’s place of public accommodation in order to determine all of the areas of non-

   compliance with the Americans with Disabilities Act.

11. Defendant has discriminated against the individual Plaintiff by denying him access to full

   and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

   accommodations of its place of public accommodation or commercial facility in violation

   of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant

   continues to discriminate against the Plaintiff, and all those similarly situated by failing to

   make reasonable modifications in policies, practices or procedures, when such

   modifications are necessary to afford all offered goods, services, facilities, privileges,

   advantages or accommodations to individuals with disabilities; and by failing to take such

   efforts that may be necessary to ensure that no individual with a disability is excluded,



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   denied services, segregated or otherwise treated differently than other individuals because

   of the absence of auxiliary aids and services. The barriers to access on the Defendant’s

   property, and the discriminatory practices and policies of Defendant, have made it

   difficult to access and use the facility.

12. Plaintiff is without adequate remedy at law and is suffering irreparable harm. Plaintiff has

   retained the undersigned counsel and is entitled to recover attorney’s fees, costs and

   litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR

   36.505.

13. Defendant is required to remove the existing architectural barriers to the physically

   disabled when such removal is readily achievable for its place of public accommodation

   that have existed prior to January 26,1992, 28 CFR 36.304(a); in the alternative, if there

   has been an alteration to Defendant’s place of public accommodation since January

   26,1992, then the Defendant is required to ensure to the maximum extent feasible, that

   the altered portions of the facility are readily accessible to and useable by individuals

   with disabilities, including individuals who use wheelchairs, 28 CFR 36.402; and finally,

   if the Defendant’s facility is one which was designed and constructed for first occupancy

   subsequent to January 26,1993, as defined in 28 CFR 36.401, then the Defendant’s

   facility must be readily accessible to and useable by individuals with disabilities as

   defined by the ADA.

14. Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

   Injunctive Relief, including an order to require the Defendant to alter its property to make

   those facilities readily accessible and useable to the Plaintiff and all other persons with



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   disabilities as defined by the ADA; or by closing the facility until such time as the

   Defendant cures its violations of the ADA.

   WHEREFORE, Plaintiff respectfully requests:

A. The Court issue a Declaratory Judgment that determines that the Defendant at the

   commencement of the subject lawsuit is in violation of Title III of the Americans with

   Disabilities Act, 42 U.S.C. § 12181 et seq.

B. Injunctive relief against the Defendant including an order to make all readily achievable

   alterations to the facility; or to make such facility readily accessible to and usable by

   individuals with disabilities to the extent required by the ADA; and to require the

   Defendant to make reasonable modifications in policies, practices or procedures, when

   such modifications are necessary to afford all offered goods, services, facilities,

   privileges, advantages or accommodations to individuals with disabilities; and by failing

   to take such steps that may be necessary to ensure that no individual with a disability is

   excluded, denied services, segregated or otherwise treated differently than other

   individuals because of the absence of auxiliary aids and services.

C. An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C. § 12205.

D. Such other relief as the Court deems just and proper, and/or is allowable under Title III of

   the Americans with Disabilities Act.

                                  Respectfully submitted,

                                  /s/ ​COLIN G. MEEKER
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